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Message                                                                                                        Page 1 of 3
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Anna Levine

From:      Anna Levine
Sent:      Friday, January 07, 2011 12:08 PM
To:        'Tenhoff, Gregory'
Cc:        'Brenner, Wendy'
Subject: RE: Enyart/NCBE: Technical Issues
Hi Greg,

I have asked Clara Van Gerven from NFB to give Kent Brye a call.

Thanks,


Anna




Anna Levine, Staff Attorney
Disability Rights Advocates
2001 Center Street, Third Floor
Berkeley, California 94704-.1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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    Original Message
From: Tenhoff, Gregory [mailto:TENHOFFGC©cooley.corn]
Sent: Friday, January 07, 2011 11:43 AM
To: Anna Levine
Cc: Brenner, Wendy
Subject: RE: Enyart/NCBE: Technical Issues

        Hi Anna — you're correct that we would like the IT people to talk about alternatives to Ms.
        Enyart's request to have someone with administrative privileges physically present during the
        February examination. I would suggest that the IT person simply call Kent Brye at the NCBE
        directly at 608-280-8550, ext. 3030. I won't be able to be on this call due to other matters but I'm
        hoping the tech people can come up with a tentative solution that we then can get approved by our
        respective clients.

        On the stipulation, I must defer to Wendy Brenner since she has been handling this issue. She is
        currently in client meetings but we expect her back in the office by around 2:00 pm. I will have her
        get in touch then.



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     Thanks.

     Gregory C. Tenhoff
     Cooley LLP
     3175 Hanover Street
     Palo Alto, CA 94304-1130
     Direct: (650) 843-5054 • Fax: (650) 849-7400
     E-mail: tenhoffgc@cooley.com
     Bio: www.cooley.com/tenhoff

     From: Anna Levine [mailto:alevine©dralegal.org ]
     Sent: Friday, January 07, 2011 10:36 AM
     To: Tenhoff, Gregory
     Cc: Brenner, Wendy
     Subject: RE: Enyart/NCBE: Technical Issues

     Greg,

     We agree that it would make sense for the IT people to talk directly, and are working to try to make
     someone available before 1pm PST.

     Given the progress that's already been made, I'd like to clarify that what the tech people are going to talk
     about is Stephanie's request for accommodations related to solving potential technical problems that come
     up (alternatives regarding her request for the availability of someone with administrative privileges), in an
     effort to have the parties resolve everything regarding potential arrangements for the February 2011 bar
     examination by stipulation.

     Because today would be the deadline under the local rules for plaintiffs motion for further provisions, and
     NCBE is unwilling to stipulate to a modification of the briefing schedule, we would like to continue to finalize
     the stipulation on all other issues, while adding language to the last provision about plaintiff reserving the
     right to file a motion, to say that the parties continue to try to resolve an additional issue by stipulation, and
     plaintiff reserves the right to file a motion on that additional issue if unable to resolve it by stipulation.

     Let me know if we can do so, and I will get back to you shortly with further information regarding the
     availability of an IT person.

     Thanks,


     Anna




     Anna Levine, Staff Attorney
     Disability Rights Advocates
     2001 Center Street, Third Floor
     Berkeley, California 94704-1204

     510 665 8644 (Tel)
     510 665 8716 (TTY)
     510 665 8511 (Fax)

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Message                                                                                                                         Page 3 of 3
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     e-mail or at (510) 665-8644 or (510) 665-8716 (TTY) and delete the message and its attachments, if any.

                 Original Message
             From: Tenhoff, Gregory [mailto:TENHOFFGC@cooley.corn]
             Sent: Friday, January 07, 2011 9:36 AM
             To: Anna Levine
             Cc: Brenner, Wendy
             Subject: Enyart/NCBE: Technical Issues
             Importance: High
             Hi Anna — I know you've been working with Wendy Brenner regarding potential arrangements for the
             February 2011 bar examination the Enyart matter. It seems to us that both sides would benefit from having
             their IT people talk directly to each other about what can, and cannot, be done to see if agreement can be
             reached. To that end, the NCBE's IT staffers are ready, willing and able to talk with your IT people today.
             One of these staffers is only available until 1:00 pm PST so if you're interested, we should make this happen
             quickly.

              Please let me know if you would like to set up this call and we'll make it happen.

              Thanks.

              Gregory C. Tenhoff
              Cooley LLP
              3175 Hanover Street
              Palo Alto, CA 94304-1130
              Direct: (650) 843-5054 • Fax: (650) 849-7400
              E-mail: tenhoffgc@cooley.com
              Bio: www.cooley.com/tenhoff




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